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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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STEPHANIE DEGHETTO, :
Plaintiff,
v.
20 CV 6092 (VB) (PED)
COMMISSIONER OF THE SOCIAL SECURITY
ADMINISTRATION,
Defendant.
—— — --- x

 

By Order dated August 5, 2020, (Doc. #6), the Court referred this case to Magistrate
Judge Paul E. Davison for a report and recommendation.

To conserve resources, to promote judicial efficiency, and in an effort to achieve a faster
disposition of this matter, it is hereby ORDERED that the parties must discuss whether they are
willing to consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before the
assigned Magistrate Judge.

If both parties consent to proceed before the Magistrate Judge, counsel for the defendant
must, by no later than October 30, 2020, file a letter with the Court, with an attached fully
executed Notice, Consent, and Reference of a Civil Action to a Magistrate Judge form, the blank
form for which is attached to this order (and also available at
https://nysd.uscourts.gov/sites/default/files/2018-06/AO-3.pdf). If the Court approves that form,
all further proceedings will then be conducted before the assigned Magistrate Judge rather than
before me. An information sheet on proceedings before magistrate judges is also attached to this
Order. Any appeal would be taken directly to the United States Court of Appeals for the Second
Circuit.

If either party does not consent to conducting all further proceedings before the assigned
Magistrate Judge, defendant’s counsel shall file a letter by no later than October 30, 2020,
advising the Court that the parties do not consent, but without disclosing the identity of the
party or parties who do not consent. The parties are free to withhold consent without negative
consequences.

Dated: October 16, 2020
White Plains, NY
SO ORDERED:

|

Vincent L, Briccetti
United States District Judge

 

 
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United States District Court
Southern District of New York

 

UNITED STATES MAGISTRATE JUDGES:
REFERRALS AND CONSENTS

All cases in the Southern District of New York are assigned to two judges: a district judge
and a magistrate judge. District judges are appointed for life terms by the President.
Magistrate judges are selected by a majority vote of the district judges in the particular
district and serve terms of eight years.

Referrals to the Magistrate Judge: The district judge assigned to your case may refer the
case to a magistrate judge for specific purposes. Commonly, the referral will be for the
magistrate judge to conduct the proceedings that occur before trial, such as resolving
discovery disputes or presiding over settlement conferences. A referral may also be made
for the magistrate judge to issue to the district judge a report and recommendation on how
to resolve a motion, such as a motion to dismiss or a motion for summary judgment. The
consent of the parties is not needed for the district judge to refer the case to the magistrate
judge for these purposes. If the district judge has made such a referral, you can ask the
district judge to review any magistrate judge’s decision by filing an objection with the
district judge within fourteen days of that decision. The district judge will rule on any
timely objections that you file. If you do not file an objection, you will give up your right to
challenge the magistrate judge’s decision at a later time, including on appeal. See Federal
Rule of Civil Procedure 72.

Consent to Proceed Before the Magistrate Judge: If you would like your case to move
more quickly, it is helpful to consent to proceed before the magistrate judge for all
purposes, including any trial. If all parties consent, the magistrate judge will perform the
identical function that the district judge would have performed. Any trial in your case
would be either a jury or a nonjury trial, depending upon whether there is a right to a jury
trial and a proper request for such a trial. The only difference is that the magistrate judge -
and not the district judge — would preside over that trial. Cases that proceed for all
purposes before a magistrate judge generally move more quickly than cases before a district
judge. If all parties consent to proceed before the magistrate judge, the district judge plays
no further role in the case. Any appeal is taken directly to the Court of Appeals. It is your
choice whether or not to consent to proceed before the magistrate judge.

A copy of the appropriate consent form is attached. Additional forms are also available
from the Pro Se Intake Unit and on the Court’s website.

500 PEARL STREET | NEW YoRK, NY 10007
300 QUARROPAS STREET | WHITE PLAINS, NY 10601

PRO SE INTAKE UNIT: 212-805-0175

Rev. 1/27/16

 
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AO 85 (Rev. 02/17) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge

UNITED STATES DISTRICT COURT

 

 

for the
)
Plaintiff )
v. ) Civil Action No.
)
Defendant )

NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court, A magistrate judge
may exercise this authority only if all parties voluntarily consent.

You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences, The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.

Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

Printed names of parties and attorneys Signatures of parties or attorneys Dates

 

 

 

Reference Order

IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.

Date:

 

District Judge's signature

 

Printed name and title

Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
